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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.        2:21-cv-06689-RGK-JC                                             Date      August 9, 2022
 Title           Michael Andrew Robinson v. Best Price Distributors, LLC, et al.




 Present: The Honorable          Jacqueline Chooljian, United States Magistrate Judge
                 Kerri Hays                                  CS 8-9-22                              None
                Deputy Clerk                         Court Reporter / Recorder                    Tape No.
                    Attorney Present for                                    Attorneys Present for
                Plaintiffs/Counterdefendant:                             Defendants/Counterclaimant:
                   Thomas J. Speiss, III                                      Diana Spielberger
                                                                                Jay Statman


 Proceedings:                 TELEPHONIC HEARING ON (1) PLAINTIFFS’ MOTION TO
                              COMPEL (PLAINTIFFS’ MOTION”) (DOCKET NO. 92); AND
                              (2) DEFENDANTS’/ COUNTERCLAIMANT’S MOTION TO COMPEL
                              (“DEFENDANTS’ MOTION”) (DOCKET NO. 90)


         Case called. Counsel stated their appearances. The Court heard argument from counsel.

        For the reasons stated on the record and in the concurrently issued attached Order, and as detailed
on the record and in the concurrently issued attached Order, the Court granted in part and denied in part
Plaintiffs’ Motion and granted in part and denied in part Defendants’ Motion.

        The Court temporarily sealed the proceedings and the concurrently issued attached Order, but
indicated that such matters would nonetheless be available to the parties’/their counsel without further
order of the Court. The Court directed the parties to confer and to file a notice with the Court within
seven (7) days if they believed it appropriate to maintain the proceedings and the concurrently issued
attached Order under seal, and if so, to provide the Court with a redacted version of the concurrently
issued attached Order appropriate for public filing. The Court indicated that absent its receipt of such a
notice/redacted version of the Order within seven (7) days, the proceedings and such Order would be
unsealed and in the public record.

         Attachment

                                                                                            1       :        46
                                                               Initials of Preparer   klh

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